981 F.2d 1251
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Cordell SERIOUS, Petitioner-Appellant,v.COMMONWEALTH OF VIRGINIA, Respondent-Appellee.
    No. 92-6998.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 18, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, Chief District Judge.
      Larry Cordell Serious, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Larry Cordell Serious seeks to appeal the district court's order dismissing without prejudice his petition filed pursuant to 28 U.S.C. § 2254 (1988) for failure to exhaust state court remedies.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Serious v. Commonwealth of Va., No. CA-92-1008-AM (E.D. Va.  Aug. 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    